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        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 17-1606V
                                      Filed: August 16, 2019
                                          UNPUBLISHED


 ROBIN HAMLIN,

                         Petitioner,                          Special Processing Unit (SPU);
 v.                                                           Ruling on Entitlement; Table Injury;
                                                              Influenza (Flu) Vaccine; Shoulder
 SECRETARY OF HEALTH AND                                      Injury Related to Vaccine
 HUMAN SERVICES,                                              Administration (SIRVA)

                        Respondent.


Alison H. Haskins, Maglio Christopher & Toale, PA, Sarasota, FL, for petitioner.
Mollie Danielle Gorney, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

Dorsey, Chief Special Master:

       On October 25, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a Shoulder Injury Related to
Vaccine Administration (“SIRVA”) as a result of her November 9, 2016 influneza (“flu”)
vaccination. See Petition at 1-4. The case was assigned to the Special Processing Unit
of the Office of Special Masters. On July 31, 2019, the undersigned issued Findings of
Fact that “the onset of petitioner’s left shoulder injury occurred within 48 hours of her
November 9, 2016 flu vaccination.” Findings of Fact at 4.
1 The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This

means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for

ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On August 14, 2019, respondent filed his Supplemental Rule 4(c) report in which
requests a ruling on the record. Respondent’s Rule 4(c) Report at 1. Specifically,
respondent indicates that “[w]hile preserving his right to appeal the Chief Special
Master’s July 31, 2019 finding that petitioner’s left arm pain began on the date of the
November 9, 2016 flu vaccination, respondent accepts this ruling as the law of the case
for purposes of further proceedings before the Chief Special Master.” Id. at 4.
Additionally, respondent notes

        [i]n light of the Chief Special Master’s fact ruling, and medical record
        evidence submitted in this case, DICP has concluded that petitioner
        suffered SIRVA as defined by the Vaccine Injury Table. Specifically,
        petitioner had no recent history of pain, inflammation, or dysfunction of her
        left shoulder; the onset of pain occurred within 48 hours after receipt of an
        intramuscular vaccination; 3 the pain was limited to the shoulder in which the
        vaccine was administered; and, no other condition or abnormality, has been
        identified to explain petitioner’s left shoulder pain. 42 C.F.R. §§ 100.3(a),
        (c)(10).


Id. at 5. Respondent further agrees that “petitioner suffered the residual effects of her
condition for more than six months. 42 U.S.C. § 300aa-11(c)(1)(D)(i).” Finally,
respondent indicates that “based on the record as it now stands and subject to his right
to appeal the Finding of Fact, respondent does not dispute that petitioner has satisfied
all legal prerequisites for compensation under the Act. 42 U.S.C. § 300aa-13.” Id.
     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.


        IT IS SO ORDERED.


                                                  s/Nora Beth Dorsey
                                                  Nora Beth Dorsey
                                                  Chief Special Master




3Respondent indicates that “[t]his criterion is met pursuant to the Chief Special Master’s July 31, 2019
Finding of Fact, and respondent does not waive his right to a potential appeal of this issue. In addition,
nothing in this Rule 4(c) Report constitutes a waiver of any defenses that respondent may assert in the
damages phase.” Respondent’s Rule 4(c) Report at FN. 2.
